      Case
8/24/22,       2:22-cv-12951-JJCG-APP
         1:12 PM                                       ECF No. 147-26,
                                                            Coleman       PageID.2861
                                                                    A. Young Municipal Building -Filed
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                                                                                                                      MENU




       PROPERTIES > MIDWESTERN USA > UNITED STATES > DETROIT >
       COLEMAN A. YOUNG MUNICIPAL BUILDING




       Coleman A. Young Municipal
       Building


       DETROIT, MI

       FACILITY MANAGER




https://www.hines.com/properties/coleman-a-young-municipal-building-detroit                                                   1/6
      Case
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       About Coleman A. Young Municipal Building



       The Detroit-Wayne Joint Building Authority (DWJBA) engaged Hines to manage the
       Coleman A. Young Municipal Center (CAYMC) in November 2005. Completed in 1955 as
       the City County Building, the facility consists of two towers— a 20-story court tower
       occupied by Wayne County’s Probate and Third Circuit Courts and a 14-story office tower
       occupied by the City of Detroit’s executive and legislative offices. Prior to Hines’
       engagement, the CAYMC was managed exclusively by the DWJBA, and had an annual
       operating budget of over $15,000,000. Under Hines’ management, the operating budget
       has decreased to under $8,800,000 annually, with the majority of these savings coming
       from reductions in utility consumption. Hines was instrumental in conducting a
       comprehensive facility master plan in an effort to prioritize capital projects. To date,
       Hines has accomplished several projects, including a lighting retrofit, steam coil
       replacement, and raw water conversion for the City of Detroit’s IT operations.




https://www.hines.com/properties/coleman-a-young-municipal-building-detroit                                                   2/6
      Case
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                                                                    A. Young Municipal Building -Filed
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       VIEW IN GOOGLE MAPS
                                                                                                                      MENU




       ADDRESS

       Detroit, MI

       LOCATION

       Detroit, MI

       ARCHITECT

       Harley, Ellington and Day

       BUILDING DETAILS

       780,000 square feet

       19 floors

       WEBSITE

       caymc.com

       CONTACT INFO

       Michael Kennedy, Property Manager 313-309-2314

       AWARDS

       The Office Building of the Year (TOBY) Award in the Government Building category.



https://www.hines.com/properties/coleman-a-young-municipal-building-detroit                                                   3/6
